          Case 1:24-cv-00018-CJN Document 12 Filed 04/05/24 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

VICTORIA CHARITY WHITE
3558 7th Street NW
Rochester, Minnesota 55901

                                  Plaintiff,
              v.

JASON BAGSHAW,                                                        C.A. No. 24-cv-00018-CJN
Commander, Special Operations Division,
in his individual and official capacity as a
Metropolitan Police Officer
2850 New York Avenue, NE
Washington, DC 20002

and

NEIL MCALLISTER, in his individual and
official capacity as a Metropolitan Police Officer
First District Station
    101 M Street, SW
    Washington, DC 20024

                           Defendants.




                       AMENDED PROOF OF SERVICE FOR JASON BAGSHAW

               I hereby certify that the Summons and Complaint was re-served on Teresa Quon,

           Assistant General Counsel for the Metropolitan Police Department, on April 4, 2024,

           via email, who was authorized to accept service on behalf of Defendant Jason

           Bagshaw instead of Nakeya Proctor on April 1, 2024.




                                                 1
Case 1:24-cv-00018-CJN Document 12 Filed 04/05/24 Page 2 of 2




    Dated: April 5, 2024          Respectfully submitted,

                                  /s/Paul D. Kamenar
                                  Paul D. Kamenar D.C. Bar #914200
                                  1629 K Street, N.W.
                                  Suite 300
                                  Washington, D.C. 20006
                                  paul.kamenar@gmail.com
                                  301-257-9435




                              2
